Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47                        Desc Main
                                      Document    Page 1 of 19



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in compliance with D.N.J. LBR 9004-1(b)

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     In re:                                                              Chapter 11

     LTL MANAGEMENT LLC,                                                 Case No. 21-30589 (MBK)

                                     Debtor. 1                           Hearing Date and Time:
                                                                         January 19, 2022 at 10:00 a.m.


                      MOTION FOR ORDER VACATING APPOINTMENT OF
                     SECOND OFFICIAL COMMITTEE OF TALC CLAIMANTS
                       AND ADDITION OF NEW COMMITTEE MEMBERS

              The law firm of Arnold & Itkin LLP (“Arnold & Itkin”), on behalf of over 7,000 talc

 personal injury claimants who are represented by Arnold & Itkin (“Movants”), by and through

 the undersigned counsel, hereby submits this motion seeking entry of an order vacating the

 Office of the United States Trustee’s (“UST”) appointment of a second official committee of talc




 1
  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
 Street, New Brunswick, New Jersey 08933.


 DOCS_DE:237567.8 05471/002
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47                    Desc Main
                                      Document    Page 2 of 19



 claimants and addition of new committee members (the “Motion”). In support of this Motion,

 Movants respectfully represent as follows:

                                    PRELIMINARY STATEMENT

         1.       Movants expect that the issue of whether there will be one Official Committee of

 Talc Claimants or two in this case should become academic upon the conclusion of the hearing

 on the pending motions to dismiss2 next month, at which time this chapter 11 case should be

 dismissed. It is no exaggeration to describe this chapter 11 case as an abuse of chapter 11 by a

 newly-created litigation vehicle that was born through a transfer of substantially all assets of

 “Old JJCI” made with actual intent to hinder and delay its talc creditors, and that filed this case

 primarily to shield its ultimate parent, Johnson & Johnson (“J&J”), from efforts by cancer

 victims to seek redress for their talc-related personal injuries, and to give J&J greater settlement

 leverage against those victims. Nothing in this Motion should be viewed as being in derogation

 of the arguments set forth in the Arnold & Itkin Motion to Dismiss.

         2.        The threshold procedural issue raised by the UST’s “reconstitution” of the

 previously appointed Official Committee of Talc Claimants (the “Original TCC”) into two

 separate official committees, with new members on each, is whether it is the UST or the Court

 that had the power to so reconstitute the Original TCC. The Original TCC was appointed

 pursuant to a court order following notice and hearing: the “Order Appointing the Official

 Committee of Talc Claimants” [Docket No. 255] (“Talc Committee Appointment Order”)

 entered by the NC Bankruptcy Court (as defined below). The Talc Committee Appointment

 Order (i) granted the “Motion of the Bankruptcy Administrator to Appoint an Official Committee

 of Talc Claimants” [Docket No. 227] (the “Committee Motion”) filed by the Bankruptcy


 2
  Motion of the Official Committee of Talc Claimants to Dismiss Debtor’s Chapter 11 Case [Docket No. 632] and
 Motion to Dismiss Bankruptcy Case [Docket No. 766] filed by Movants (the “Arnold & Itkin Motion to Dismiss”).


 DOCS_DE:237567.8 05471/002                           2
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47            Desc Main
                                      Document    Page 3 of 19



 Administrator, which sought the appointment of a single official committee of talc claimants; (ii)

 designated the claimants who “shall constitute the Official Committee of Talc Claimants in this

 case” (id. at 5] and (iii) specifically provided that, “The Bankruptcy Administrator’s Committee

 Motion is GRANTED without prejudice to further consideration of the Responses Seeking

 Additions and the Composition/Timing Objections by this or any other court with jurisdiction.”

 Id. at 5 (emphasis added). Movants respectfully submit that the Talc Committee Appointment

 Order could be modified or reconsidered only by this Court, and not unilaterally by the UST, and

 that the procedure required in order for the UST to reconstitute the Original TCC into two

 separate talc claimant committees, with new members on each, was to seek an order of this Court

 so providing.

         3.       This oversight is not a mere procedural nicety. Had the UST sought this Court’s

 modification or reconsideration respecting the Talc Committee Appointment Order, the UST

 would have been required to explain the rationale behind the extraordinary and, Movants believe,

 unprecedented step of forming two separate committees of personal injury claimants based solely

 on the nature of the disease claimed to have been caused by the product in question.

 Significantly, the UST would have had to explain why it reversed the decision of the Bankruptcy

 Administrator in North Carolina, who was approached by some members of the plaintiffs’ bar

 about the possibility of two committees, but elected to appoint a single committee, and

 explained that decision to the NC Bankruptcy Court: “But ultimately, I could find no statutory or

 case law to support creating separate committees based on disease type nor any earlier cases

 where two such committee or anything close to that were appointed.” Reporter’s Transcript of

 Hearing, 11/4/21 (“Nov. 4 Tr.”) at 56; attached as Exhibit A. As things now stand, there is no




 DOCS_DE:237567.8 05471/002                       3
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47                      Desc Main
                                      Document    Page 4 of 19



 publicly stated rationale for the UST’s major departure from the norm and reversal of the North

 Carolina Bankruptcy Administrator’s decision.

          4.      In any event, even if the UST had the power to modify the Talc Committee

 Appointment Order without seeking an order of this Court, there simply is no basis in law,

 precedent or fact to support the formation of two official committees to represent talc personal

 injury claimants based on the nature of the cancer that is alleged to have resulted from the use of

 talc products.3 Indeed, Movants believe that the UST’s action in forming TCC I and TCC II

 (defined below at ¶ 13) to represent claimants with different types of disease resulting from the

 same basic product is unprecedented. Breaking the Original TCC into one committee for ovarian

 cancer claimants and one committee for mesothelioma claimants defies the fact that both sets of

 talc personal injury and wrongful death claims are tort claims that belong in the same class; does

 not comport with the case law; and deviates from the precedent of all previous mass tort/asbestos

 cases.

          5.      Like the Bankruptcy Administrator in North Carolina, Movants have been unable

 to locate a single mass tort bankruptcy case where two separate committees were formed to

 represent personal injury claimants based on disease or injury type. Typically in most mass tort

 cases, either a single official committee of tort claimants is appointed or tort claimants are

 included in the membership of the official committee of unsecured creditors. Occasionally, a

 mass tort case will have separate tort claimant committees, one for personal injury claims and

 one for property damage claims. But none have had two committees appointed for different sets

 of personal injury claims based on the nature of the underlying disease, let alone on the type of



 3
  Arnold and Itkin recognizes that Blue Cross Blue Shield of Massachusetts (“BCBS”) was a member of the Original
 TCC (as defined herein) and is now a member of TCC I (as defined herein). Its membership is not relevant for
 purposes of this Motion.


 DOCS_DE:237567.8 05471/002                            4
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47              Desc Main
                                      Document    Page 5 of 19



 cancer that the claimant suffers. Attached hereto as Exhibit B is a chart detailing the official

 committees appointed in numerous mass tort cases over the past two decades.

         6.       This consistent practice in mass tort cases should come as no surprise, as it

 comports with applicable law. “[I]ntercreditor conflicts inhere in any committee;” and “[T]he

 reconciliation of the differing interests of creditors within a single committee is the norm, and the

 appointment of a separate committee is an extraordinary remedy . . .” In re Sharon Steel Corp.,

 100 B.R. 767, 777-78 (Bankr. W.D. Pa. 1989). There is simply no reason to depart from the

 norm here and impose the extraordinary remedy of creating a separate official committee of talc

 personal injury claims to represent the interests of holders of mesothelioma claims, especially

 when the North Carolina Bankruptcy Administrator went out of her way to assure “adequate

 representation” of mesothelioma claims on the Original TCC by appointing a committee, over

 one third of which was comprised of holders of mesothelioma claims, even though holders of

 such claims comprise a fraction over 1% of the talc personal injury claimants. (Four of the

 eleven members of the Original TCC were appointed to TCC II, which, Movants understand, is

 to represent the interests of mesothelioma claimants.) The UST’s “two TCC” construct simply

 creates a mechanism by which to have the estate finance the parochial agenda (whatever that

 agenda may be) of a very small minority of talc personal injury claimants which was already

 more than adequately represented on the Original TCC. Such a “two TCC” construct can do

 nothing but exacerbate intercreditor discord and division.

         7.       Movants respectfully submit that in issuing the UST Notice (defined below), the

 UST has exceeded its authority under section 1102(a) of the Bankruptcy Code.         For all the

 reasons set forth in more detail below, this Court should enter an order vacating the UST Notice




 DOCS_DE:237567.8 05471/002                         5
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47               Desc Main
                                      Document    Page 6 of 19



 so that only one official committee of talc claimants, consisting of the holders of claims

 appointed pursuant to the Talc Committee Appointment Order, is appointed in this case.

                  JURISDICTION, VENUE, AND STATUTORY PREDICATES

         8.       The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 1334 and

 157(b)(2) and the Amended Standing Order of Reference from the United States District Court

 for the District of New Jersey, dated September 18, 2012. Venue is proper before this Court

 pursuant to 28 U.S.C. § 1409. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and

 the Court may enter a final order consistent with Article III of the United States Constitution.

 The statutory basis for the relief requested herein is sections 105 and 1102(a) of the Bankruptcy

 Code.

                                          BACKGROUND

         9.       On October 14, 2021 (the “Petition Date”), two days after it was formed, the

 Debtor commenced this case by filing a voluntary petition for relief under chapter 11 of the

 Bankruptcy Code in the United States Bankruptcy Court for the Western District of North

 Carolina (the “NC Bankruptcy Court”).

         10.      According to the Debtor, as of the Petition Date, there were approximately 38,000

 ovarian cancer cases pending against it and approximately 430 mesothelioma cases pending

 against it. See Declaration of John K. Kim in Support of First Day Pleadings [Docket No. 5] at

 ¶¶ 42, 44.

         11.      On November 8, 2021, on Motion of the Bankruptcy Administrator, the NC

 Bankruptcy Court entered the Talc Committee Appointment Order [Docket No. 355] appointing

 the Official Committee of Talc Claimants as the Original TCC in this chapter 11 case. The

 Original TCC consisted of eleven members: ten (10) personal injury claimants and BCBS. The

 Original TCC has retained or sought to retain no fewer than eight (8) separate law firms as


 DOCS_DE:237567.8 05471/002                       6
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47                         Desc Main
                                      Document    Page 7 of 19



 bankruptcy or special counsel: (i) Genova Burns LLC as local counsel (ii) Brown Rudnick LLP

 as bankruptcy co-counsel, (iii) Bailey Glasser LLP as bankruptcy co-counsel, (iv) Otterbourg PC

 as bankruptcy co-counsel, (v) Parkins Lee & Rubio LLP as special counsel, (vi) Massey & Gail

 LLP as special counsel, (vii) Miller Thompson LLP as special Canadian counsel, and (viii)

 Monzack Merskey and Browder, P.C. as special counsel.4 The Original TCC also sought to

 retain FTI Consulting, Inc. as financial advisor, and Houlihan Lokey Capital, Inc. as investment

 banker.5

         12.      On November 16, 2021, the NC Bankruptcy Court entered an order transferring

 this case to the District of New Jersey, which referred the case to this Court [Docket No. 416].

         13.      On December 23, 2021, the UST filed its Notice of the United States Trustee’s

 Filing of Reconstituted and Amended: (i) Notice of Appointment of Official Committee of Talc

 Claimants I; and (ii) Notice of Appointment of Official Committee of Talc Claimants II [Docket

 No. 965] (the “UST Notice”). The UST Notice stated that the UST reconstituted the Original

 TCC and appointed the Official Committee of Talc Claimants I (“TCC I”) and the Official

 Committee of Talc Claimants II (“TCC II”). TCC I is comprised of nine (9) members, seven (7)

 of whom were members of the Original TCC plus two (2) new members. TCC II consists of

 seven (7) members, four (4) of whom were members of the Original TCC plus three (3) new

 members. It appears that TCC I, with the exception of BCBS, is comprised of ovarian cancer

 claimants while TCC II is comprised of mesothelioma claimants. 6


 4
   The Original TCC filed applications to retain counsel at Docket Nos. 385, 389, 502 (Bailey Glasser); 388 (Parkins
 Lee & Rubio); 387, 503 (Otterbourg); 386, 501 (Brown Rudnick); 394, 504 (Massey & Gail); 422 (Genova Burns);
 829 (Miller Thompson); and 869 (Monzack Merskey).
 5
   Docket Nos. 955 and 953, respectively.
 6
   The UST Notice does not specifically identify the nature of the claims held by the members of TCC I and TCC II or
 provide any explanation of the basis for the two committees. Arnold & Itkin believes, however, that the breakdown
 is between ovarian cancer and mesothelioma claims based on its understanding of the claims asserted by the various
 committee members. This breakdown is further evidenced by TCC counsel comments at the hearing on December 30.
 2021 regarding the two committees’ composition.


 DOCS_DE:237567.8 05471/002                              7
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47                              Desc Main
                                      Document    Page 8 of 19



          14.      It appears that six7 of the eight law firms that represented the Original TCC have

 been allocated among TCC I and TCC II, and three law firms that did not previously represent

 the Original TCC have been added to represent TCC II, as follows: the firms of (i) Genova

 Burns, (ii) Brown Rudnick, (iii) Parkins Lee & Rubio and (iv) Otterbourg purport to represent

 TCC I while the firms of (i) Sherman, Silverstein, Kohl, Rose & Podolsky, P.A. (“SSKRP”), (ii)

 Bailey & Glasser LLP, (iii) Cooley LLP (“Cooley”), (iv) Massey & Gail, and (v) Waldrep Wall

 Babcock & Bailey (“WWBB”) purport to represent TCC II.8 None of SSKRP, Cooley or

 WWBB represented the Original TCC. It is, however, unclear what role counsel who

 represented the Original TCC but now represents TCC I or TCC II will play in the event of a

 conflict between the two successor TCC’s.9 In addition, it is likely that there will now be two

 sets of committee financial advisors and investment bankers instead of just one. The

 appointment of TCC II may also be a precursor to a request that there be not one, but two future

 claims representatives—one for ovarian cancer claims, and one for mesothelioma claims. There

 was, however, no need to create this morass; the Original TCC was adequate.

                                                   ARGUMENT

          15.      Section 1102(a)(1) of the Bankruptcy Code provides that “… the United States

 trustee shall appoint a committee of creditors holding unsecured claims and may appoint

 additional committees of creditors … as the United States trustee deems appropriate.” Section

 1102(a)(2) of the Bankruptcy Code states that “[o]n request of a party in interest, the court may

 order the appointment of additional committees of creditors … if necessary to assure adequate


 7
   It is unclear what role or allocation will be assigned to special Canadian and Delaware counsel to the Original TCC.
 8
   See Docket Nos. 1055 and 1056.
 9
   Indeed, although Movants take no position on the issue, it is not inconceivable that, due to conflict issues, counsel
 who represented the Original TCC could not represent either TCC 1 or TCC II if this case is not dismissed. This is
 because such counsel would be representing one portion of their prior constituency against the other in matters relating
 to this chapter 11 case if the two TCC’s had a conflict; and the decision to create two separate TCC’s presupposes that
 one or more conflicts will arise between them-- otherwise, why appoint two TCC’s in the first place?


 DOCS_DE:237567.8 05471/002                                 8
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47            Desc Main
                                      Document    Page 9 of 19



 representation of creditors.” Nothing in section 1102, however, empowers the UST to modify a

 court order by unilaterally “reconstituting” a committee of creditors whose composition has been

 established by such an order.

         16.      Nevertheless, here, the UST “reconstituted” (but essentially disbanded) the

 Original TCC that had been appointed pursuant to the NC Bankruptcy Court’s Talc Committee

 Appointment Order and appointed TCC I and TCC II in the place of the Original TCC, all

 without a hearing before this Court or prior notice to interested parties (but presumably after

 lobbying by some plaintiffs’ lawyers whose request for two committees had already been

 carefully considered and rejected by the North Carolina Bankruptcy Administrator). As a result,

 neither Movants nor the Court is privy to the circumstances surrounding, or the rationale behind,

 the UST’s decision to reconstitute the Original TCC into TCC I and TCC II — a decision that is

 an outlier in the history of mass tort/product liability chapter 11 cases by any standard. In any

 event, the UST’s appointment of two committees for talc personal injury claimants is

 unsupported by fact or law and should be rescinded.

         17.      At the threshold, the UST’s “reconstitution” of the Original TCC was in disregard

 of the Talc Committee Appointment Order, through which the NC Bankruptcy Court appointed

 the Original TCC “without prejudice to further consideration of the Responses Seeking

 Additions and the Composition/Timing Objections by this or any other court with jurisdiction.

 Docket No. 255, at 5 (emphasis added). That Order granted the Bankruptcy Administrator’s

 Committee Motion [Docket No. 227], which the Bankruptcy Administrator had filed after

 receiving and considering over 50 responses to her “Notice of Solicitation of Parties Interested in

 Serving on the Official Committee of Talc Claimants” [Docket No. 38]. A hearing on the

 Committee Motion was held, on notice to interested parties, on November 4, 2021. At the




 DOCS_DE:237567.8 05471/002                        9
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47                Desc Main
                                     Document    Page 10 of 19



 hearing, the Bankruptcy Administrator, Shelley Abel, detailed the extensive efforts that her

 office had undertaken to select the membership of the Original TCC, including the possibility –

 considered and rejected – of creating two committees. Nov. 4 Tr.at 32-39, attached hereto as

 Exhibit A. Interested parties spoke at the hearing as well. Id. at 39-59. The NC Bankruptcy

 Court thus entered the Talc Committee Appointment Order on consideration of a full record,

 approving the Original TCC as proposed by the Bankruptcy Administrator.

         18.      The Talc Committee Appointment Order is now law of the case and comes to this

 Court in full force and effect. See generally, Fagan v. City of Vineland, 22 F.3d 1283, 1290 (3d

 Cir. 1994) (“The law of the case doctrine limits the extent to which an issue will be reconsidered

 once the court has made a ruling on it.”). While the NC Bankruptcy Court may have deliberately

 limited the effect of the law of the case doctrine on this Court’s future consideration of the

 composition and possible reconstitution of the Original TCC, by granting the Committee Motion

 “without prejudice to further consideration of the Responses Seeking Additions and the

 Composition/Timing Objections by this or any other court with jurisdiction” (Docket No. 255

 at 5 (emphasis added)), the Talc Committee Appointment Order is without doubt an order that

 the UST cannot alter unilaterally by administrative ukase without this Court’s consideration and

 adoption. In re Sharon Steel Corp., 100 B.R. at 774 (“As an agency of the executive branch, the

 U.S. Trustee may not be empowered to overturn decisions of the bankruptcy court, made in the

 exercise of its judicial power.”)

         19.      In any event, the UST’s decision to appoint (or not to appoint) additional

 committees is subject to this Court’s de novo review. Id. at 767. Bankruptcy courts have the

 discretion to examine, on a case-by-case basis, whether additional committees are warranted

 under the circumstances. In re Dana Corp., 344 B.R. 35, 38 (Bankr. S.D.N.Y. 2006).




 DOCS_DE:237567.8 05471/002                       10
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47              Desc Main
                                     Document    Page 11 of 19



         20.      Courts generally have found that “[a]ppointment of an additional Committee is an

 extraordinary remedy that courts are reluctant to grant.” In re New Century TRS Holdings, Inc.,

 2013 Bankr. LEXIS 4021 at *7 (Bankr. D. Del. 2013) (emphasis added; internal citations

 omitted). See also, In re Sharon Steel Corp., 100 B.R. at 776-777 (“[T]he reconciliation of

 differing interests of creditors within a single committee is the norm, and … the appointment of a

 separate committee is an extraordinary remedy….”)

         21.      Importantly, the case law is clear that, “Adequate representation exists through a

 single committee as long as the diverse interests of the various creditor groups are represented on

 and have participated in that committee.” Id. at 777-778. There can be no question that the

 Bankruptcy Administrator in North Carolina went out of her way to make sure that the Original

 TCC met that standard here. Four of the eleven members of the Original TCC (comprising four

 of the ten personal injury claimants on the Original TCC) were appointed by the UST to TCC II,

 which means that even though the mesothelioma claimants whose interests are to be

 represented by TCC II represent only a fraction over 1% of the talc personal injury claimants,

 holders of mesothelioma claims received more than one third of the seats on the Original

 TCC, representing 40% of the seats given to personal injury claimants.

         22.      The Sharon Steel decision is instructive. In that case, the UST, acting on a written

 request from a group of unsecured debenture holders, formed an official committee of debenture

 holders, despite there already being an official committee of unsecured creditors in place. The

 unsecured debenture holders who had pressed for this separate committee based their request on

 the “conflict” that assertedly resulted from “the differing interests of the trade creditors and

 holders of debentures.” Id. at 776. Following a hearing at which the Court considered objections

 to the formation of the second committee, the Court determined that the debenture holders’




 DOCS_DE:237567.8 05471/002                        11
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47                Desc Main
                                     Document    Page 12 of 19



 interests were adequately represented by the unsecured creditors committee and that a second

 committee solely for debenture holders was not warranted.

         23.      In so doing, the Sharon Steel court explained that the fact that committee

 members may have divergent views on some issues simply is not sufficient to warrant the

 appointment of a second committee. “It is universally recognized that intercreditor conflicts

 inhere in any committee” Id. at 778. Despite such conflicts, “… the reconciliation of differing

 interests of creditors within a single committee is the norm …” Id. at 778. In reaching this

 conclusion, the Sharon Steel court noted the Third Circuit’s observation in In re Altair Airlines,

 Inc., 727 F.2d 88, 90 (3rd Cir. 1084) that:

                   “[Union] members may be interested in a plan of reorganization
                  which preserves both their jobs and their collective bargaining
                  agreement, while other creditors may be interested in a liquidation,
                  or a reorganization involving a merger with a [third party]. Such
                  conflicts of interests are not unusual in reorganizations.
                  Materialman creditors, for example, may sometimes prefer to
                  forego full payment for past sales in hopes of preserving a
                  customer, while lenders may prefer liquidation and prompt
                  payment. (emphasis supplied).”

         24.      Other courts have adopted the Sharon Steel reasoning. See, e.g., In re Residential

 Capital, LLC, 480 B.R. 550, 557 (Bankr. S.D.NY. 2012) (“In the vast majority of chapter 11

 cases, a single committee of creditors has been deemed sufficient.”); In re Garden Ridge Corp.,

 2005 Bankr. LEXIS 323 (Bankr. D.Del. 2005) (“Adequate representation is lacking only when

 … conflicts prevent an official committee from upholding its fiduciary obligations to all general

 unsecured creditors.”).

         25.      This case law makes it clear that the appointment of two talc claimant committees

 here is not warranted. The interests of both ovarian cancer claimants and mesothelioma

 claimants are adequately represented by the Original TCC. There is no evidence that conflicts




 DOCS_DE:237567.8 05471/002                       12
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47              Desc Main
                                     Document    Page 13 of 19



 prevented or would prevent the Original TCC from upholding its fiduciary obligations to all

 holders of talc personal injury claims.

         26.       The Original TCC as originally constituted is more than capable of representing

 the interests of all holders of talc personal injury claims, regardless of disease type. It has, in

 fact, been doing just that since its formation, presenting a unified front in dealing with numerous

 issues that have arisen in this case. The Original TCC has participated in every aspect of this

 case, including resisting the Debtor’s attempt to shield J&J and other third parties from talc

 litigation; responding to various other motions and applications of the Debtor; filing its own

 motion to change venue and then to dismiss this case; propounding discovery; and appearing at

 multiple court hearings. The Original TCC was well represented by experienced and

 sophisticated counsel who certainly know how to deal with, and reconcile, divergent views of

 members of an official creditors committee – a critical skillset for any committee counsel.

         27.      Breaking the Original TCC into two committees - one for ovarian cancer

 claimants and one for mesothelioma claimants – is unprecedented; there is nothing even close.

 Asbestos mass tort cases typically involve both personal injury claims based on mesothelioma,

 and personal injury claims based on an assortment of other asbestos related diseases; yet

 Movants have not identified a single mass tort bankruptcy case where two separate committees

 were formed to represent personal injury claimants based on the nature of the diseases on which

 the personal injury claims were premised. Nor had the Bankruptcy Administrator in North

 Carolina: “… I was approached by many people on both sides of this plaintiffs' bar about the

 possibility of two committees … But ultimately, I could find no statutory or case law to support

 creating separate committees based on disease type nor any earlier cases where two such




 DOCS_DE:237567.8 05471/002                        13
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47                            Desc Main
                                     Document    Page 14 of 19



 committees or anything close to that were appointed.” Nov. 4 Tr. at 56 attached hereto as

 Exhibit A.

          28.      It is easy to understand why no such cases exist – the personal injury claims are

 tort claims of equal rank and priority and all belong in the same class. See, In re Congoleum

 Corp., 362 B.R. 167, 184 (Bankr. D.N.J. 2007) (tort claims have the same nature and should be

 classified together); Cf. In re Sharon Steel Corp., 100 B.R. at 776 (“The appointment of a

 separate committee of debenture holders is not necessary to secure adequate representation

 where, as here, they share pari passu with other general unsecured creditors.”)

          29.      Movants cannot help but be concerned that the formation of TCC I and TCC II is

 the “Trojan horse” precursor to an improper attempt to separately classify ovarian cancer claims

 and mesothelioma claims for plan purposes.10 The formation of a separate committee to

 represent the interests of mesothelioma claimants, which would appear regularly before this

 Court to represent the “separate” interests of such claimants, cannot help but foster the

 (erroneous) impression that such claims, having “need” of their own Committee, also belong in a

 separate class.

          30.      Such a classification scheme would, however, give inappropriately outsized

 leverage to holders of mesothelioma claims, which represent only a fraction over 1% of the

 overall number of talc claims. Among other points of undue leverage, the separate classification

 of mesothelioma claims would give the holders of a few hundred mesothelioma claims the ability

 to: (i) force a “cram down” of the “class” of mesothelioma claims in accordance with the

 requirements of section 1129(b) of the Code; and (ii) contend that, in order to satisfy the voting



 10
   There is no basis for separate classification of ovarian cancer and mesothelioma cancer personal injury claims. See,
 In re Congoleum Corp., 362 B.R. 167 (Bankr. D.N.J. 2007) (debtor improperly separately classified tort claims of
 equal rank and provided certain classes with preferential treatment under plan.)


 DOCS_DE:237567.8 05471/002                               14
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47                 Desc Main
                                     Document    Page 15 of 19



 requirements of Section 524(g)(2)(B)(ii)(IV)(bb) of the Code, holders of 75% of the claims in

 the mesothelioma claims “class” that vote on the plan must vote to accept the plan. Thus, the

 formation of a separate committee for mesothelioma claimants potentially represents the first

 step in an attempt to hand a plan veto power to a very small minority of personal injury claimants

 and to have the estate finance that attempt.

         31.      Even if the formation of a separate committee for mesothelioma claimants is not a

 precursor to an estate financed move to separately classify mesothelioma claims, the creation of

 a second, estate financed committee of personal injury claimants will foster division, not

 compromise, and enable a small minority of talc personal injury claimants to pursue their agenda

 on “someone else’s dime,” i.e., at the expense of the estate. Although Movants are not

 particularly concerned about saving J&J money, they are concerned that creating a separate

 official committee that allows a small subset of creditors of a particular class to pursue the

 litigation of their agenda at someone else’s expense will spawn division and litigation , not

 compromise, within the personal injury claimant group.

         32.      The Sharon Steel court recognized this danger. “[T]his case will succeed or fail to

 the extent the members of the Official Committee can adjust their differences within the

 framework of the existing Official Committee. The formation of a separate committee will not

 eliminate the inherent tensions; indeed, it will only weaken the impetus to compromise.” Sharon

 Steel, 100 B.R. at 779. Put more bluntly, “separate teams of professionals rarely contribute to

 the spirit of compromise that is intended as the guiding star of chapter 11.” Id. at 778. The same

 holds true here. Adding a second committee composed of mesothelioma claimants potentially

 pits tort claimants against each other and threatens the ability to exit this case (if it is not

 dismissed) through a creditor plan filed upon the termination of plan exclusivity that devotes the




 DOCS_DE:237567.8 05471/002                         15
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47              Desc Main
                                     Document    Page 16 of 19



 assets of the Debtor and the estate (including causes of action) to the payment of talc personal

 injury claims against the Debtor, while leaving talc claimants free to pursue their remedies

 against J&J. See, generally, In re New Century TRS Holdings, Inc., 2013 Bankr. LEXIS 4021 at

 *8 (Bankr. D. Del. 2013) (“The principal purpose of creditors' committees is not to advocate any

 particular creditor class's agenda, but rather to 'strike a proper balance between the parties such

 that an effective and viable reorganization of the debtor may be accomplished.’”)

         33.      The appointment of a separate mesothelioma claimants committee also places

 other talc claimants, like the 7,000 talc claimants represented by Arnold & Itkin, who may

 disagree with positions taken by the mesothelioma plaintiff group whose interests are represented

 by TCC II, at an unfair disadvantage. While Movants and other creditors in a similar position

 have to retain and compensate their own counsel to participate in this case, the formation of TCC

 II will arm the holders of a very small percentage of the talc personal injury claims with the

 ability to participate in the case and litigate their agenda at the estate’s expense. There is no

 factual or legal justification for giving such a comparatively small creditor group such

 disproportionate power and leverage, when those creditors already have a meaningful voice in

 the case as part of a single official committee, an outsized portion of whose members consist of

 mesothelioma claimants.

         34.      The creation of two separate committees raises additional questions and concerns,

 including thorny conflict of interest issues and questions regarding future claims representatives

 for talc claimants (“FCRs”). If TCC I and TCC II represent separate constituencies with

 conflicting interests, how can any counsel for the Original TCC not be conflicted from

 representing either TCC I or TCC II? Movants take no position on this issue in this Motion, but




 DOCS_DE:237567.8 05471/002                       16
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47                           Desc Main
                                     Document    Page 17 of 19



 raise it for the Court’s [and the UST’s] consideration.11 In addition, as discussed at the

 December 30th hearing, having two talc claimant committees creates the potential for the

 appointment of two FCRs, instead of the one the Court apparently had contemplated. If a

 personal injury claimant group merits its own official committee, it would presumably merit its

 own FCR for the same reason; it is difficult to imagine any other outcome. After all, if a single

 committee cannot adequately represent the interests of all talc personal injury claimants, how can

 a single future claims representative adequately represent the interests of all future talc personal

 injury claimants?

          35.      The “two TCC” construct also creates additional issues and complexities

 regarding the pursuit and resolution of substantive matters that could have a material impact on

 recoveries by holders of talc personal injury claims—issues and complexities that would not

 exist but for the formation of a second talc claimants committee. For example, one would have

 expected the Original TCC to seek derivative standing to prosecute fraudulent transfer claims

 and other causes of action arising out of the divisional merger of “Old JJCI” on behalf of the

 estate. Now that there are two TCC’s, will both TCC’s seek such derivative standing and

 prosecute such litigation, or will one TCC cede control of such litigation to the other? Will each

 TCC have a veto over the presentation for court approval of any proposed settlement of such

 litigation, or will one TCC cede control of the power to settle such actions to the other?

          36.      Similarly, based on what has transpired in at least one other

 chapter 11 case that is the outgrowth of a divisional merger, one might have expected the

 Original TCC to seek to substantively consolidate the Debtor and “New JJCI.” Now that there



 11
   Moreover, regardless of how the Original TCC professionals split themselves between TCC I and TCC II, it is clear
 from counsel’s comments at the December 30th hearing that additional professionals will need to be retained at estate
 expense.


 DOCS_DE:237567.8 05471/002                               17
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47               Desc Main
                                     Document    Page 18 of 19



 are two TCC’s, the same questions arise regarding control of the prosecution and settlement of

 any such action.

         37.      Although the answers to these and other questions raised by the formation of a

 second committee of talc claimants remain unclear, what is clear is that the full extent of the

 adverse ripple effects and unintended consequences of going where no mass tort chapter 11 case

 has gone before, and forming two separate committees to represent personal injury claims based

 on disease type, is unpredictable. The risk of such adverse ripple effects and unintended

 consequences can, however, be avoided if the Court sticks to the norm and directs the UST to

 revert to the Original TCC, with its existing set of professionals, to represent the interests of all

 talc personal injury claimants.

         38.      Simply put, the facts here do not support the “extraordinary remedy” of a second

 committee in a context where such appointment would be unprecedented. Not only is there no

 necessity for such a separate committee, but the appointment of such a committee to represent

 the interests of what are now fewer than 450 out of over 38,000 claimants would simply fan

 divisiveness and intercreditor warfare, and be prejudicial to the interests of thousands of other

 talc personal injury claimants.

         WHEREFORE, Movants respectfully request that the Court enter an order (i) vacating

 the UST Notice; (ii) reconstituting TCC I and TCC II as the Original TCC with its original

 composition; and (iii) granting such other relief as the Court deems just.




 DOCS_DE:237567.8 05471/002                        18
Case 21-30589-MBK             Doc 1067 Filed 01/05/22 Entered 01/05/22 14:13:47     Desc Main
                                     Document    Page 19 of 19



 Dated: January 5, 2022                       PACHULSKI STANG ZIEHL & JONES LLP


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 DOCS_DE:237567.8 05471/002                     19
